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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


John Doe,

Plaintiff(s),

-vs-                                                        16-cv-1127 JRT/DTS

University of St. Thomas,


Defendant(s).

                                  COST JUDGMENT

The costs of the Defendant, University of St. Thomas, have been taxed and allowed by
the Clerk of this Court against the Plaintiff, John Doe, as follows:

                                                   Claimed Allowed
                   Fees for transcripts            $3,484.22 $2,884.40


                                          Total $3,484.22 $2,884.40

Costs, therefore, are taxed against Plaintiff, John Doe, in the amount of $2,884.40 and
judgment is entered accordingly. Motion for review of the Clerk’s decision may be made
within 14 days hereafter in accordance with Local Rule 54.3(c).

Dated at St. Paul, Minnesota, on April 30, 2019.

                                                      KATE M. FOGARTY, CLERK

                                                      By: s/ M. Vicklund

                                                      M. Vicklund
                                                      Deputy Clerk
